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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                 NO. 4:13CR00167-02 JLH

DANIEL GLENN CAPLE                                                                DEFENDANT

                                            ORDER

       Defendant Daniel Glenn Caple was previously designated to the Federal Detention Center

in Seattle, Washington, for a psychiatric evaluation. The Warden of the facility has now requested

a second extension of time in which to conduct the evaluation and submit the report to the Court.

Without objection, the second request is granted. The defendant’s psychiatric evaluation must be

completed no later than June 15, 2014, with the report being sent to the Court and counsel on or

before July 1, 2014. The excess time shall be excludable under the provisions of the Speedy Trial

Act.

       IT IS SO ORDERED this 27th day of May, 2014.




                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
